       19-13011-jlg      Doc 163      Filed 05/07/20 Entered 05/07/20 14:11:34               Blank Notice
                                            (wysiwyg) Pg 1 of 1
                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF NEW YORK
                                              One Bowling Green
                                           New York, NY 10004−1408


IN RE: Ponderosa−State Energy, LLC                        CASE NO.: 19−13011−jlg

Social Security/Taxpayer ID/Employer ID/Other Nos.:       CHAPTER: 11
82−1361694




                 NOTICE TO ALL CREDITORS AND INTERESTED PARTIES



Please be advised that all matters scheduled for May 14, 2020 have been adjourned to June 25, 2020 at 2:00 p.m.



Dated: May 7, 2020                                        Vito Genna
                                                          Clerk of the Court
